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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 RIVERTOWN TCI, L.P.                              :                CIVIL ACTION
          Plaintiff                               :                NO. 24-2576
          v.                                      :
 OPTYMYZE PTE LTD., et al.,                       :
          Defendants                              :
                                                ORDER

       AND NOW, this 14th day of February 2025, upon consideration of Plaintiff Rivertown TCI,

L.P.’s (“Plaintiff”) motion for ex parte temporary restraining order and preliminary injunction, (ECF

4), Plaintiff’s renewed motion for preliminary injunction, (ECF 127), Defendant Optymyze PTE Ltd.’s

(“Defendant Optymyze”) response in opposition, (ECF 124), Defendant Mark Stiffler’s (“Defendant

Stiffler”) motion to vacate TRO, deny preliminary injunction, and strike plaintiff’s filings for fraud

upon the court and abuse of process, (ECF 119), and the evidence and argument presented at the

February 11, 2025 hearing, it is hereby ORDERED for the reasons set forth in the accompanying

Memorandum Opinion, that:

   1. Plaintiff’s motion for ex parte temporary restraining order and preliminary injunction, (ECF

       4), and Plaintiff’s renewed motion for preliminary injunction, (ECF 127), are GRANTED.

   2. Unless later rescinded, Defendants Optymyze PTE Ltd. and Mark Stiffler are RESTRAINED

       and ENJOINED from concealing, dissipating, transferring, liquidating, conveying, selling,

       destroying, or secreting their assets, including any goods, credit and/or effects in their

       possession or control or in the possession or control of a trustee, agent, financial institution or

       other third party.

   3. Any financial institution, brokerage, depository, escrow agent, trust, entity, or person that

       holds, controls, or maintains custody of any account or asset owned or controlled, directly or

       indirectly, by any Defendant, must hold and retain such assets within its control and prohibit
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        Defendants from withdrawing, removing, assigning, transferring, disbursing, dissipating,

        converting, selling, gifting, or otherwise disposing of accounts and/or assets.

    4. Defendant Stiffler’s motion to vacate TRO, deny preliminary injunction, and strike plaintiff’s

        filings for fraud upon the court and abuse of process, (ECF 119), is DENIED.1



                                                BY THE COURT:

                                                /s/ Nitza I. Quiñones Alejandro
                                                NITZA I. QUIÑONES ALEJANDRO
                                                Judge, United States District Court




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         In Defendant Stiffler’s motion, he advances a variety of arguments. Some of these arguments are
addressed in this Court’s Memorandum Opinion, or in separate Orders. Defendant Stiffler’s argument
that Plaintiff and Plaintiff’s counsel have “engaged in a pattern of material omissions and fraudulent
misrepresentations” is without merit. This Court has thoroughly reviewed the record and does not find
evidence that Plaintiff and Plaintiff’s counsel have engaged in fraud. Accordingly, Defendant Stiffler’s
motion is denied.
